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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI


 STATE OF ARKANSAS, et al.,
                                                              No. 4:24-cv-636-RWS
                   Plaintiffs,

                       v.

 MIGUEL CARDONA, in his official capacity
 as Secretary of Education, et al.,

                  Defendants.



                                    NOTICE OF APPEAL

        NOTICE is hereby given that defendants Miguel Cardona, in his official capacity as

Secretary of Education; United States Department of Education; Catherine Lhamon, in her official

capacity as Assistant Secretary for Civil Rights, Department of Education; and Randolph Wills, in

his official capacity as Deputy Assistant Secretary for Enforcement, Department of Education

appeal to the United States Court of Appeals for the Eighth Circuit from the Court’s Memorandum

and Order (ECF No. 54) and Order of Preliminary Injunction (ECF No. 55) entered on July 24,

2024.


Dated: September 20, 2024                     Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              EMILY B. NESTLER
                                              Assistant Branch Director

                                              /s/ Clayton L. Bailey
                                              CLAYTON L. BAILEY
                                              ELIZABETH TULIS
                                              REBECCA KOPPLIN
                                              BENJAMIN TAKEMOTO

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2024, I electronically filed this document with the
Court by using the CM/ECF system, and that this document was distributed via the Court’s
CM/ECF system.

                                                    /s/ Clayton L. Bailey




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